Case 3:16-md-02738-MAS-RLS   Document 32208-1   Filed 05/17/24   Page 1 of 6
                             PageID: 183405




               EXHIBITA
Case 3:16-md-02738-MAS-RLS   Document 32208-1   Filed 05/17/24   Page 2 of 6
                             PageID: 183406

                                   SUPERIOR COURT OF NEW JERSEY
                                   LAW DIVISION: CIVIL PART
                                   ATLANTIC COUNTY
                                   DOCKET NO.: ATL-L-2648-15
                                   A.D. #

                                 )
       IN RE: JOHNSON AND JOHNSON)              TRANSCRIPT
       TALCUM-BASED POWDER       )                  OF
       PRODUCTS LITIGATION       )                MOTION
                                 )

                             Place: Atlantic County Civil Crt.
                                    1201 Bacharach Blvd.
                                    Atlantic City, NJ 08401

                              Date: April 10, 2024
                                    MORNING SESSION

       BEFORE:

            HONORABLE JOHN C. PORTO, J.S.C. AND
            RUKHSANAH L. SINGH, U.S.M.J.

       TRANSCRIPT ORDERED BY:

            SEAN GARRETT, ESQ., (Faegre Drinker)

       APPEARANCES:

            JEFFREY M. POLLOCK, ESQ., AND
            MICHAEL SABO, ESQ., (Fox Rothschild, L.L.P.)
            Attorneys for Plaintiff

            ANDY BIRCHFIELD, ESQ., (Beasley Allen)
            Attorney for Plaintiff

       *(Appearances continued)


                              Transcriber: Nitsa Carrozza
                              PHOENIX TRANSCRIPTION
                              796 Macopin Road
                              West Milford, NJ 07480
                              (862) 248-0670

                              Audio Recorded
                              Recording Opr: Jennifer Walker
Case 3:16-md-02738-MAS-RLS   Document 32208-1   Filed 05/17/24   Page 3 of 6
                             PageID: 183407

       APPEARANCES CONTINUED:

            STEVE BRODY, ESQ., (O’Melveny & Myers, L.L.P.)
            Attorney for J&J and L.T.L. Mngt.

            ERIK HAAS, ESQ., (Johnson & Johnson W.W.V.P.L.)
            Attorney for Johnson & Johnson
Case 3:16-md-02738-MAS-RLS   Document 32208-1   Filed 05/17/24   Page 4 of 6
                             PageID: 183408
                                                                       3
                                 I N D E X
                                                         PAGE
       Colloquy/Housekeeping............................4,136

       MOTION TO DISQUALIFY:

       WITNESSES FOR         DIRECT    CROSS     REDIRECT        RECROSS
       THE DEFENDANT:
       J. Conlan             6
 Case 3:16-md-02738-MAS-RLS   Document 32208-1 Filed 05/17/24   Page 5 of 6
                              PageID: 183409
                           J. Conlan - Direct                           51

 1      knew because that’s what we’re here for, right, and

 2      what he conveyed to Andy Birchfield, Beasley Allen.

 3      And I would like, respectfully, to be focused on that

 4      issue.    Otherwise, we’re going to be here all day

 5      reading time sheets that I haven’t seen.

 6                   THE COURT:   Mr. Brody, any thoughts?

 7                   MR. BRODY:   (indiscernible)

 8                   THE COURT:   I know what you’re doing.     I

 9      mean, Judge Singh and I both know what you’re doing.

10      You’re saying, you knew this, this, this and this.          I

11      got it.     And then, he did something else with it, with

12      someone else, perhaps, all right?      How much more time

13      do you need with regard to, because I think the

14      testimony is clear, again, not making any credibility

15      findings.

16                   There’s privileged information, had to do

17      with bankruptcy, had to do with restructuring, had to

18      do with J and J, had to do with Imerys.       When are we

19      going to get the segue, the bridge so-to-speak, with

20      regard to whatever else happened with that information?

21                   MR. BRODY:   We’re going to get the bridge in

22      about 20 minutes, I hope.

23                   THE COURT:   Okay, all right.

24                   MR. BRODY:   But Your Honor, I do think these

25      things are important and it’s important to -- I mean,
 Case 3:16-md-02738-MAS-RLS  Document 32208-1 Filed 05/17/24   Page 6 of 6
                             PageID: 183410
                          J. Conlan - Direct                        52

 1      it’s 1,600 of work for which Mr. Conlan billed $2.24

 2      million and -- but it’s important to establish the

 3      scope of that work, the breadth of that work which was,

 4      you know, every single aspect of this.

 5                 Of the Talc Litigation, of resolution

 6      strategies.   It’s every single aspect of it that he was

 7      exposed to during that time frame.

 8                 THE COURT:    Okay, I’m hearing it, we both

 9      hear it, Judge Singh and I and I know what you’re

10      doing.   Just keep an eye on, you know, whatever you

11      want the Court to review, if you raise it again with

12      regard to in-camera and we’ll address that at that

13      point.

14                 MR. BRODY:    Yep, absolutely.

15      BY MR. BRODY:

16           Q     You analyzed, Mr. Conlan, the -- how to value

17      opt-outs for Johnson and Johnson?

18                 MR. POLLACK:    This is in Imerys?

19                 MR. BRODY:    Yes.

20                 THE WITNESS:    How to value opt-outs, people

21      who opted out under the Imerys-J and J bolt-on plan?

22                 MR. POLLACK:    Correct.

23                 THE WITNESS:    I don’t recall how we would

24      value the opt-outs.     As I recall, I thought the

25      approach was to just assign a dollar per claim, which
